Case No. 1:24-cv-02915-GPG-TPO        Document 1      filed 10/21/24    USDC Colorado         pg
                                         1 of 47




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 24-cv-02915

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 ROCKET MORTGAGE, LLC;
 SOLIDIFI U.S. INC.;
 MAKSYM MYKHAILYNA; and
 MAVERICK APPRAISAL GROUP INC.,

       Defendants.


                                       COMPLAINT


                                     INTRODUCTION

       1.      The United States of America brings this action to enforce Title VIII of the

 Civil Rights Act of 1968, as amended (“the Fair Housing Act”), 42 U.S.C. §§ 3601–3619,

 on behalf of Francesca Cheroutes, a Black woman, pursuant to 42 U.S.C. § 3612(o).

       2.      In January 2021, during a time of falling interest rates and rising home

 values in the Denver area, Ms. Cheroutes sought to refinance the property she owns at

 749-751 Ash Street, Denver, Colorado (“Subject Property”), with Defendant Rocket

 Mortgage, LLC (“Rocket”). This required an appraisal. A previous appraisal of the
Case No. 1:24-cv-02915-GPG-TPO         Document 1       filed 10/21/24    USDC Colorado       pg
                                          2 of 47




 Subject Property, which had been completed less than a year before, and also in

 connection with a mortgage from Rocket, valued Ms. Cheroutes’s home at $860,000.

        3.     Rocket contracted with Solidifi U.S. Inc. (“Solidifi”), an appraisal

 management company (“AMC”), to conduct an appraisal of the Subject Property (the

 “Subject Appraisal”). Solidifi, which maintains a “panel” of appraisers that it trains and

 approves to carry out appraisals in accordance with Solidifi’s standards, arranged for

 one of those appraisers, Defendant Maksym Mykhailyna, the Chief Executive Officer of

 Defendant Maverick Appraisal Group Inc. (“Maverick”), to perform the appraisal for

 Rocket. Mr. Mykhailyna and Maverick agreed to conduct the appraisal for Solidifi and

 then completed the appraisal and submitted it to Solidifi, which submitted it to Rocket

 pursuant to its contract.

        4.     In performing the appraisal, Mr. Mykhailyna and Maverick significantly

 undervalued Ms. Cheroutes’s home because of her race and color. Mr. Mykhailyna met

 Ms. Cheroutes during the appraisal and knew that the Subject Property was occupied

 by a Black family when he performed the appraisal. Ms. Cheroutes told Mr. Mykhailyna

 about recent improvements to the property, including new gutters, new doors, and

 updates to the kitchen and bathroom. He did not respond and did not include this

 information in his report.

        5.     Mr. Mykhailyna appraised the property at $640,000, which was $220,000

 lower than the earlier appraisal. Mr. Mykhailyna’s appraisal was also lower than the

 sales prices of all six comparable duplexes within a mile of the property, which Mr.


                                               2
Case No. 1:24-cv-02915-GPG-TPO         Document 1     filed 10/21/24   USDC Colorado          pg
                                          3 of 47




 Mykhailyna’s agreement with Solidifi directed him to consider in the appraisal. Mr.

 Mykhailyna disregarded all but one of these comparables and instead relied on sales of

 properties that were farther away and in neighborhoods with greater concentrations of

 Black persons than the predominantly White neighborhood where Ms. Cheroutes lived.

 Mr. Mykhailyna’s approach differed markedly from how he appraised a property of a

 White owner in Ms. Cheroutes’s neighborhood one month before the Subject Appraisal.

 The relevant facts and circumstances, as explained in more detail below, demonstrate

 that Mr. Mykhailyna used faulty comparables and made other inaccurate assumptions

 because Ms. Cheroutes was Black.

        6.      After Ms. Cheroutes received the Subject Appraisal, she contacted

 Rocket, informed the company that the appraisal was significantly lower than the prior

 appraisal, and explained why she believed the appraisal was motivated by racial

 discrimination.

        7.      Despite being given this information, Rocket insisted on using the

 appraisal in the mortgage loan refinancing. Rocket told Ms. Cheroutes that she could

 either proceed with the refinancing using the discriminatory appraisal, or her refinancing

 application would be canceled. When Ms. Cheroutes continued to request that the

 appraisal be changed or redone because it was discriminatory, Rocket canceled her

 application.

        8.      Ms. Cheroutes filed a complaint with the U.S. Department of Housing and

 Urban Development (“HUD”). HUD investigated the complaint and determined that


                                              3
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24   USDC Colorado        pg
                                          4 of 47




 Defendants had engaged in one or more discriminatory housing practices against Ms.

 Cheroutes in violation of the Fair Housing Act.

                               JURISDICTION AND VENUE

         9.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

 and 1345 and 42 U.S.C. § 3612(o).

         10.   Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part

 of the events or omissions giving rise to these claims occurred in the District of

 Colorado.

                          PARTIES AND SUBJECT PROPERTY

         11.   Plaintiff is the United States of America.

         12.   Defendant Maverick is an appraisal company incorporated in Colorado,

 with its principal place of business in Denver, Colorado. All actions taken by Defendant

 Maverick relevant to this Complaint, including through the actions of its agent Maksym

 Mykhailyna, were taken pursuant to its agreement with, and as an agent of, Defendant

 Solidifi.

         13.   Defendant Maksym Mykhailyna is a licensed appraiser and the owner and

 Chief Executive Officer of Maverick. All actions taken by Mr. Mykhailyna relevant to this

 Complaint were taken in his capacity as the owner of, and as an agent of, Defendant

 Maverick, and also as an agent of Solidifi.




                                               4
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24   USDC Colorado        pg
                                          5 of 47




        14.     Defendant Solidifi is an AMC incorporated in Delaware, with its principal

 place of business in Buffalo, New York. Defendant Solidifi does business in the District

 of Colorado.

        15.     Defendant Rocket is a mortgage lender incorporated in Michigan, with its

 principal place of business in Detroit, Michigan. Defendant Rocket does business in the

 District of Colorado.

        16.     The Subject Property is a duplex located at 749-751 Ash Street, Denver,

 Colorado. It consists of two units. Each unit has two levels, three bedrooms, and two

 bathrooms. The Subject Property is a “[d]welling” within the meaning of the Fair Housing

 Act, 42 U.S.C. § 3602(b).

        17.     At all relevant times, Ms. Cheroutes owned the Subject Property and

 resided in one of the two units of the Subject Property. She is an “[a]ggrieved person”

 within the meaning of the Fair Housing Act, 42 U.S.C. § 3602(i).

              ALLEGATIONS REGARDING DEFENDANTS’ DISCRIMINATION
                           AGAINST MS. CHEROUTES

 A.     Home ownership, residential segregation, and property valuation are
        historically intertwined.

        18.     Equity in residential real estate is the primary source of wealth for many

 American families. According to the Pew Research Center, “[h]ome equity looms large

 in household wealth. In 2021, the median net worth of U.S. households overall stood at

 $166,900, counting all assets. But their median net worth without home equity included




                                              5
Case No. 1:24-cv-02915-GPG-TPO        Document 1      filed 10/21/24    USDC Colorado         pg
                                         6 of 47




 was only $57,900” (emphasis in original).1 Thus, the stakes involved in home ownership

 and the value of one’s home are high. These stakes are often particularly important for

 Black households, for which the value of a home comprises on average 63% of total

 wealth, as compared to only 41% for White homeowners.2

         19.   Denver, like most American cities, has a history of residential segregation

 by race. This fact was illustrated in a school desegregation lawsuit where the Denver

 School Board argued that its racially segregated schools were “the result of residential

 patterns” rather than deliberate segregation on the part of the School Board. See Keyes

 v. Sch. Dist. No. 1, Denver, Colo., 413 U.S. 189, 212 (1973).

         20.   Property values have historically been influenced by race. In the first two-

 thirds of the 20th century, properties in neighborhoods with greater concentrations of

 Black residents were systematically valued lower than properties in neighborhoods

 predominantly comprised of White residents. The federal government played a role in

 this process by discouraging banks from offering home loans in areas where larger

 concentrations of Black residents lived, a process commonly known as “redlining.”3 As a

 consequence, homes owned by Black residents were, on average, valued lower than



 1 Rakesh Kochhar and Mohamad Moslimani, Wealth Surged in the Pandemic, but Debt

 Endures for Poorer Black and Hispanic Families, ch. 4, Pew Research Center (2023),
 available at https://perma.cc/SMV3-5KPF.
 2 Id.


 3 Federal Reserve History, Redlining (June 2, 2023), available at https://perma.cc/EF97-

 JPCA.

                                              6
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24    USDC Colorado     pg
                                          7 of 47




 homes owned by White residents, and when Black residents moved into predominantly

 White neighborhoods, property values would often decrease.4

        21.    To obtain a loan to purchase a property or refinance a mortgage, a real-

 estate appraisal is usually required. In the past, appraisal standards and criteria

 contained explicit racial factors, which instructed appraisers to consider the racial

 makeup of the surrounding neighborhood as part of assigning a value to a home.5 In the

 1970s, the U.S. Department of Justice sued to end the practice of using race in real-

 estate appraisals. See United States v. Am. Inst. of Real Est. Appraisers, 442 F. Supp.

 1072, 1076 (N.D. Ill. 1977).

        22.    Recent studies indicate that race continues to play a role in some

 appraisals. Appraisals for home purchases are more likely to fall below the contract

 price when the borrower is Black than when the borrower is White.6 Similarly, a higher

 percentage of White residents correlates with higher appraised values in a




 4 Daniel Aaronson, Daniel Hartley, and Bhashkar Mazumder, The Effects of the 1930s

 HOLC “Redlining” Maps, Working Paper 2017-12, Federal Reserve Bank of Chicago
 (2020), available at https://perma.cc/ZS8E-H98N; Prottoy A. Akbar, Sijie Li Hickly,
 Allison Shertzer, and Randall P. Walsh, Racial Segregation in Housing Markets and the
 Erosion of Black Wealth, The Review of Economics and Statistics (2022), available at
 https://doi.org/10.1162/rest_a_01276.
 5 See Frederick Babcock, Appraisal of Real Estate 71 (1924); George L. Schmutz, The

 Appraisal Process 168 (1951).
 6 Freddie Mac, Racial and Ethnic Valuation Gaps In Home Purchase Appraisals (2021),

 available at https://perma.cc/TK9F-PT2D.

                                              7
Case No. 1:24-cv-02915-GPG-TPO        Document 1     filed 10/21/24   USDC Colorado        pg
                                         8 of 47




 neighborhood, even when controlling for house quality, neighborhood socioeconomic

 status, and area amenities.7

 B.    Ms. Cheroutes’s purchase of the Subject Property.

       23.    Ms. Cheroutes is Black and has two adult children.

       24.    Ms. Cheroutes purchased the Subject Property in 2011 for $270,000, and

 she still owns the Subject Property today.

       25.    At the time of purchase, Ms. Cheroutes took out a loan to cover both the

 purchase price and the cost of major renovations that she subsequently completed.

       26.    At all times relevant to the Subject Appraisal, Ms. Cheroutes has lived in

 the unit at 751 Ash Street and has rented out the unit at 749 Ash Street.

       27.    Ms. Cheroutes purchased the Subject Property at a favorable time.

 Between 2011 and 2021, the average home sale price in the Denver metro area8

 increased from about $256,000 to about $612,000.9




 7 Junia Howell and Elizabeth Korver-Glenn, Appraised: The Persistent Evaluation of

 White Neighborhoods as More Valuable Than Communities of Color, at 10–12 (2022),
 available at https://perma.cc/C6MK-A77M.
 8 The real estate industry defines “Denver metro area” as including the City and County

 of Denver and ten other nearby counties. See REcolorado, Market Trends, available at
 https://perma.cc/XF4L-QQMN.
 9 Katie Eastman, Priced Out: How the Denver Metro housing market got to where it is

 today, 9News (May 15, 2022), available at https://perma.cc/6KW7-JYT3.

                                              8
Case No. 1:24-cv-02915-GPG-TPO        Document 1      filed 10/21/24   USDC Colorado      pg
                                         9 of 47




       28.    Ms. Cheroutes’s home is located in the Hale neighborhood of Denver,

 three miles from downtown Denver, one mile from Congress Park, and just a few blocks

 from popular restaurants and Rose Medical Center.

       29.    The Subject Property, shown below in a recent photograph, is located

 mid-block on a shady, tree-lined residential street. Within two blocks of the Subject

 Property is the second location of Snooze A.M. Eatery, a breakfast/brunch restaurant

 that now has over 70 locations in ten states. The Subject Property is also located a

 short two-block walk from the first Trader Joe’s grocery store to open in Denver.




       30.    As shown in the map below, the Subject Property is located a few blocks

 east of Colorado Boulevard, on the edge of the Hale neighborhood. On the other side of


                                             9
Case No. 1:24-cv-02915-GPG-TPO        Document 1      filed 10/21/24   USDC Colorado      pg
                                        10 of 47




 Colorado Boulevard lies the neighborhood of Congress Park. And just south of the

 Subject Property is the neighborhood of Hilltop, which is one of the wealthiest

 neighborhoods in Denver, with some of the highest property values in the city. The

 population of Hale is predominantly White: its resident population is approximately 77

 percent White and 5 percent Black. The Subject Property’s census block group is

 approximately 78 percent White and 4 percent Black. Congress Park is approximately

 81 percent White and 3 percent Black.




                                            10
Case No. 1:24-cv-02915-GPG-TPO   Document 1   filed 10/21/24   USDC Colorado   pg
                                   11 of 47




                                      11
Case No. 1:24-cv-02915-GPG-TPO        Document 1      filed 10/21/24    USDC Colorado     pg
                                        12 of 47




 C.     Ms. Cheroutes sought to refinance the Subject Property to take advantage
        of historically low interest rates.

        31.    In late 2020, Ms. Cheroutes learned that interest rates for residential

 mortgage loans were at historic lows and had dropped significantly even in the prior

 year. Seeking to save money by refinancing with those low rates, Ms. Cheroutes

 contacted Rocket, a company she had used previously for her home mortgage, about

 refinancing her mortgage loan on the Subject Property.

        32.    When Ms. Cheroutes initially contacted Rocket, a representative told her

 that an application for a new mortgage loan would be worthwhile because the rates

 were so low and that it was not an issue that she had already refinanced—through

 Rocket—a year earlier.

        33.    The Rocket representative provided a written loan estimate to Ms.

 Cheroutes. The loan estimate stated that the loan amount was $563,000, the interest

 rate was fixed at 2.75%, and mortgage insurance was not required. The loan estimate

 indicated that these terms were based in part on an estimated property value of

 $860,000, which was the appraised value of the property for Rocket’s refinancing the

 previous year. Compared with her existing mortgage loan, the loan estimate provided a

 lower interest rate, lower monthly payment amount, shorter loan term, and lower total

 repayment amount over the lifetime of the loan.

        34.    The Rocket representative informed Ms. Cheroutes that an appraisal of

 the property would be required, as the refinancing estimate was dependent on the value

 of the property.

                                             12
Case No. 1:24-cv-02915-GPG-TPO           Document 1       filed 10/21/24    USDC Colorado            pg
                                           13 of 47




 D.     Background on residential appraisals.

        35.    Appraisals must comply with the Uniform Standards of Professional

 Appraisal Practice (“USPAP”). See 12 U.S.C. § 3339. An appraisal, according to the

 USPAP, is “the act or process of developing an opinion of value,” and it is also the

 name of an opinion of value.

        36.    Once a mortgage loan applicant provides certain basic pieces of

 information to a lender, the lender is required to provide a written loan estimate. Next,

 the lender will generally obtain a residential appraisal and rely on that appraisal in its

 decision regarding the loan application. If the appraised value is less than the estimated

 value in the loan estimate, it is more likely that the lender will not offer a loan or will offer

 terms that are less favorable to the applicant.

        37.    The process for preparing residential appraisals for what are known as

 “conventional” mortgage loans in the United States has been standardized by the

 Federal National Mortgage Association (“Fannie Mae”) and the Federal Home Loan

 Mortgage Corporation (“Freddie Mac”). Appraisers evaluating residential properties for

 conventional loans generally use the forms promulgated by Fannie Mae and Freddie

 Mac to appraise property.

        38.    A residential appraisal involves conducting an in-person home inspection

 of the property at issue and gathering many details about the property and its

 characteristics by consulting documentary materials such as tax records and property

 databases.


                                                13
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24   USDC Colorado          pg
                                         14 of 47




        39.    Once the appraiser has collected details about the property, the appraiser

 searches for sales comparables (“comps”) to derive an estimated value for the

 property.10 Sales comps should have similar characteristics to the property, and their

 sale dates should also be relatively close in time to the appraisal date. Appraisers will

 sometimes choose two or more properties to serve as sales comps, one with certain

 characteristics that are greater and/or better than the property and the other with

 characteristics that are lesser and/or worse. This technique is called “bracketing,” and it

 allows the appraiser to arrive at a middle-ground value for the property being appraised.

        40.    Once sales comps are chosen, the appraiser then makes monetary

 adjustments to each comp to account for differences between the comp and the subject

 property. The Fannie Mae/Freddie Mac uniform appraisal forms list categories where

 adjustments may be made.11 The appraiser then chooses an appraised value based on

 the adjusted values of the sales comps.




 10 This section describes the “sales-comparison approach” to property valuation. Other

 methods include the cost-comparison approach and the income approach. All
 appraisals discussed in this Complaint used the sales-comparison approach.
 11 These categories include: whether there were sale or financing concessions; the date

 of the sale; the location of the property; whether the property is a leasehold or fee
 simple; the site size; whether the property has a view; the design/style of the property;
 the quality of the property’s construction; the age of the property; the condition of the
 property; the property’s gross building area; the number of rooms, bedrooms, and
 bathrooms in the property; the property’s basement features; and a number of other
 amenities or physical characteristics such as the type of utilities, whether the property
 has a patio or porch, etc.

                                             14
Case No. 1:24-cv-02915-GPG-TPO          Document 1       filed 10/21/24   USDC Colorado       pg
                                          15 of 47




        41.    Mortgage lenders and AMCs often have guidelines or criteria regarding

 the choice of sales comps and default adjustment amounts. Within these general

 guidelines, the appraiser still must make choices when selecting appropriate sales

 comps and making appropriate adjustments. Those choices by appraisers can

 significantly affect their ultimate opinion of a property’s value.

 E.     Solidifi’s role in the appraisal process.

        42.    As an AMC, Solidifi contracts with lenders to conduct appraisals, which

 must be completed as part of financing a home loan.

        43.    To complete the required appraisal as part of Ms. Cheroutes’s refinancing

 application, Rocket contracted with Solidifi to conduct an appraisal of the Subject

 Property.

        44.    On or about January 14, 2021, Solidifi entered into an agreement with

 Maverick to carry out the appraisal. The agreement between Solidifi and Maverick

 specified certain standards Maverick would follow in carrying out the appraisal, gave

 Solidifi authority to require changes to the appraisal under certain circumstances,

 required Maverick to notify Solidifi of any complaints it received about its work from the

 homeowner or borrower, and stated that the appraisal was a “work[] made for hire” that

 would constitute the property of Solidifi.

        45.    Before this appraisal, Solidifi had an ongoing working relationship with Mr.

 Mykhailyna and Maverick. Solidifi maintains a panel of appraisers it uses to enable

 Solidifi to carry out appraisals with lenders. Without a panel of appraisers, AMCs like


                                               15
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24    USDC Colorado         pg
                                         16 of 47




 Solidifi would not exist because they would have no one to complete the appraisals

 being requested by lenders. Thus, the appraiser panel is the core of how Solidifi

 performs contracts for lenders.

        46.    Solidifi takes several steps to control the appraisers who serve on its

 panel. To determine who is eligible to join its panel of appraisers, Solidifi’s Credentials

 Management Team reviews documents and information, including licensing and

 insurance, and conducts a background check.

        47.    After initial acceptance, Solidifi puts an appraiser in “New Recruit” status

 until the appraiser successfully completes a series of steps. These steps include

 completing three appraisals that include multiple levels of monitoring by Solidifi,

 including feedback and coaching from Solidifi’s Regional Manager. The appraiser must

 have an interview with the Regional Manager, and it must receive approval that it has

 met Solidifi’s standards for the types of appraisals it is seeking to be assigned. Only

 then will Solidifi promote an appraiser from “New Recruit” to “Active Status,” which

 allows the appraiser to be assigned general appraisal orders.

        48.    When Solidifi assigns an appraiser to a project, Solidifi provides the

 appraiser with a letter of engagement informing the appraiser of the assignment type

 and the criteria.

        49.    Even once an appraiser is in “Active Status,” Solidifi exercises a significant

 amount of control over how the appraiser completes an appraisal. As described in

 further detail below, Solidifi provided extensive guidance and guidelines to Mr.


                                              16
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24    USDC Colorado        pg
                                         17 of 47




 Mykhailyna in how to conduct the Subject Appraisal. In addition, in order to accept an

 appraisal assignment, Mr. Mykhailyna was required to, and did, agree that Solidifi had

 the right to review and require changes to any appraisal in order to ensure that the

 appraisal met applicable professional and industry standards and any applicable

 governmental requirements.

        50.    Solidifi’s contracts with appraisers also make clear that Solidifi owns the

 appraisals that are produced by its appraisers.

        51.    Solidifi requires its appraisers to follow a code of conduct, which requires

 them to help create a positive work environment, avoid conflicts of interest, and

 preserve confidentiality.

        52.    Appraisers on Solidifi’s panel of appraisers use Solidifi’s computer

 systems for various tasks, including communicating with Solidifi and submitting the

 appraisal reports to Solidifi.

        53.    AMCs also control their appraisers through quality control and rating

 systems. Solidifi rates its appraisers and tracks its appraisers’ work history.

        54.    If Solidifi identifies issues in an appraiser’s performance or work quality,

 Solidifi will sometimes demote the appraiser to “Watch Status.” When an appraiser is on

 Watch Status, the appraiser must successfully complete three assignments with

 additional oversight before becoming eligible to return to Active Status. While in Watch

 Status, an appraiser receives coaching sessions from Solidifi.




                                              17
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24    USDC Colorado          pg
                                         18 of 47




        55.    The Solidifi Standards provide guidance for the sales-comparison

 approach. In particular, they state that the following must be clearly explained and

 detailed in any appraisal: gross adjustments in excess of +/- 25%, net adjustments in

 excess of +/- 15%, and line adjustments in excess of +/- 10%12; utilization of comps

 located more than one mile from the subject property; utilization of sales that closed

 more than six months prior to the effective date of the report; and utilization of comps

 with a gross living area variance of +/- 20%.

        56.    These standards also require the appraiser to use, as a comp, at least one

 relevant listing from the subject property’s immediate market.

        57.    After receiving an appraisal, Solidifi reviews specific sections of the report

 for valuation, looking for both overvaluation and undervaluation. Appraisals are not

 forwarded to the lender until they satisfy Solidifi’s review process.

        58.    The policies described in Paragraphs 46 through 57 were in effect at the

 time of the Subject Appraisal. The agreement between Solidifi and Maverick was

 consistent with these policies.




 12 A net adjustment is the final percentage difference between the original sales price

 and the adjusted sales price calculated after adding and subtracting each line-item
 adjustment. Gross adjustments are the percentage of total adjustments made, both
 positive and negative, as a percentage of the original sales price. Higher figures in
 either or both categories can indicate that the selected comp is not actually that
 comparable to the property being appraised.

                                              18
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24   USDC Colorado       pg
                                         19 of 47




 F.     The appraiser’s visit to the Subject Property.

        59.    On January 20, 2021, Mr. Mykhailyna visited the Subject Property as part

 of the process of conducting the appraisal. He was accompanied by another appraiser

 whom Mr. Mykhailyna was considering hiring. Mr. Mykhailyna and the prospective

 employee are both White.

        60.    When Mr. Mykhailyna arrived at the Subject Property, he initially knocked

 on the door of the unit where Ms. Cheroutes’s tenant lived, 749 Ash Street. He spoke to

 the tenant, who was a White male, and inspected his unit.

        61.    After exiting the tenant’s unit, Mr. Mykhailyna entered Ms. Cheroutes’s

 backyard without giving notice of his arrival or introducing himself. To get to her

 backyard, he had to walk past the front door of the unit where Ms. Cheroutes lived, 751

 Ash Street.

        62.    On the day of the appraisal, the Subject Property had a Black Lives Matter

 sign visible in its front yard. On their way to Ms. Cheroutes’s backyard, Mr. Mykhailyna

 and the prospective employee passed by the Black Lives Matter sign, and the

 prospective employee made a comment about it to Mr. Mykhailyna.

        63.    When Ms. Cheroutes became aware that two men had entered her

 backyard, she went outside to introduce herself. Mr. Mykhailyna appeared surprised

 when she said that she was the owner and did not respond to Ms. Cheroutes’s attempts

 to engage with him. He did not introduce or explain the role of the prospective

 employee.


                                             19
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24   USDC Colorado         pg
                                         20 of 47




        64.    Mr. Mykhailyna and the prospective employee then entered the unit. The

 prospective employee spoke with Ms. Cheroutes’s daughter, who was a college student

 at the time, while Mr. Mykhailyna conducted a brief inspection. Mr. Mykhailyna saw Ms.

 Cheroutes and her daughter in person and thus knew that they were Black.

        65.    During the home inspection, Ms. Cheroutes attempted to inform Mr.

 Mykhailyna of recent improvements she had made to the property since the last

 appraisal, including replacing the gutters; replacing both back doors; washing and

 staining the fence; painting; and updating the kitchen, bath, and lighting. In response to

 Ms. Cheroutes’s statements, Mr. Mykhailyna’s facial expressions indicated to Ms.

 Cheroutes that he was not interested in the information provided, and he did not say

 anything or take notes. His appraisal report did not include the information she provided.

        66.    The inspection was brief, and Mr. Mykhailyna did not ask Ms. Cheroutes

 or her daughter any questions about the property.

        67.    Based on Mr. Mykhailyna’s actions during the home inspection, Ms.

 Cheroutes was concerned that his appraisal would not fairly represent the value of her

 home, and she expressed those concerns to her daughter.

        68.    Mr. Mykhailyna and Maverick completed the Subject Appraisal on January

 21, 2021. The appraised value was $640,000.

 G.     The Subject Appraisal was significantly lower than both earlier and later
        appraisals of the Subject Property.

        69.    Between 2013 and 2022, Ms. Cheroutes obtained six appraisals and one

 residential evaluation of the Subject Property, primarily in conjunction with refinancing

                                             20
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24    USDC Colorado       pg
                                         21 of 47




 her mortgage to make renovations to the Subject Property or to take advantage of

 decreasing interest rates (with Rocket as the lender in three of these instances). As

 shown in the table below, these valuations reflected the consistent rise in prices in the

 Denver real-estate market, and in her popular neighborhood, with one exception: the

 Subject Appraisal.

              Date of Appraisal/Residential Evaluation        Appraised Value
              7/30/2013                                       $552,000
              2/5/2015                                        $575,000
              10/7/2016                                       $600,000
              12/19/2018                                      $755,000
              5/22/2020                                       $860,000
              1/20/2021 (Subject Appraisal)                   $640,000
              3/13/2022                                       $885,00013


        70.     This steady rise in value (except for the Subject Appraisal) also reflects

 the care Ms. Cheroutes took of the Subject Property. Upon purchasing the duplex in

 2011, she invested roughly $200,000 in renovations. Since then, she had spent

 thousands of dollars per year, and expended significant time and effort, on maintenance

 and repairs.

        71.     Between the May 2020 appraisal and the Subject Appraisal in January

 2021, Ms. Cheroutes made various improvements to the Subject Property, as described

 above. She replaced the back doors and the gutters, installed new granite countertops




 13 The March 2022 evaluation was labeled a “residential evaluation” rather than an

 appraisal and did not include an inspection of the interior of the property.

                                              21
Case No. 1:24-cv-02915-GPG-TPO         Document 1     filed 10/21/24   USDC Colorado       pg
                                         22 of 47




 in the kitchen, and painted and updated the bathrooms, including replacing the vanity

 and lighting.

        72.      The Subject Appraisal was more than 25 percent lower than the $860,000

 appraisal in May 2020, only eight months before the Subject Appraisal.

        73.      No change in the Subject Property or the Denver real-estate market

 justified the decrease in value present in the Subject Appraisal. First, the home’s

 condition did not deteriorate between 2020 and 2021, nor was any major defect

 discovered. On the contrary, Ms. Cheroutes had invested in improvements between the

 2020 appraisal and the Subject Appraisal. Second, the market for residential properties

 in Denver did not deteriorate due to market conditions or economic factors. Rather,

 media articles in the months and even weeks prior to the Subject Appraisal touted

 Denver’s record-setting housing market, including a CNBC article from October 5, 2020,

 titled “Denver suddenly has one of the most competitive housing markets in America,”

 and another article published in 5280 Magazine just a week before the Subject

 Appraisal was conducted with the headline, “Denver’s 2020 Real Estate Market Saw an

 Unprecedented Number of Records Broken.”14




 14 CBS News Colorado, Denver Ranked #4 Hottest Real Estate Market During COVID

 Pandemic (Nov. 18, 2020), available at https://perma.cc/W7L3-CV7F;
 Diana Olick, Denver suddenly has one of the most competitive housing markets in
 America, CNBC (Oct. 5, 2020), available at https://perma.cc/DF9N-XHYA;
 Cassidy Ritter, Denver’s 2020 Real Estate Market Saw an Unprecedented Number of
 Records Broken, 5280 Magazine (Jan. 13, 2021), available at https://perma.cc/7RXJ-
 M7QL.

                                             22
Case No. 1:24-cv-02915-GPG-TPO        Document 1      filed 10/21/24   USDC Colorado        pg
                                        23 of 47




        74.   The Subject Appraisal was also significantly lower than the December

 2018 appraisal, which was $755,000. In contrast, between December 2018 and

 December 2020, the median sale price of townhouses and condominium properties in

 Denver County had increased by almost 9 percent. Thus, in comparison to the 2018

 appraisal, the Subject Appraisal valued Ms. Cheroutes’s home 22 percent lower from

 what would have been expected if Ms. Cheroutes’s property had been consistent with

 median sales prices in Denver. There had been no significant change to the Subject

 Property or its surrounding neighborhood that would account for this significantly lower

 valuation.

 H.     Mr. Mykhailyna’s choices and errors in appraising the property showed that
        his view of the Subject Property was affected by race.

        75.   Mr. Mykhailyna’s decision to value the Subject Property at $640,000 was

 based on a series of intentional choices and suspect errors that Mr. Mykhailyna made

 as part of the appraisal process. Those choices and errors signaled that his view of the

 Subject Property was affected by the race of its owner.

      1. Mr. Mykhailyna defined the Subject Property’s neighborhood based on Ms.
         Cheroutes’s race, grouping the Subject Property with faraway
         neighborhoods with much greater Black populations.

        76.   Mr. Mykhailyna approached the valuation of the Subject Property by

 associating it with properties in neighborhoods with higher percentages of Black

 residents. The uniform appraisal form that he used contained a fill-in-the-blank

 statement intended to give the reader a sense of the current market conditions in the



                                            23
Case No. 1:24-cv-02915-GPG-TPO        Document 1     filed 10/21/24   USDC Colorado         pg
                                        24 of 47




 property’s “subject neighborhood.” Mr. Mykhailyna completed the statement with the

 following figures:




        77.    This price range did not accurately reflect home prices in Ms. Cheroutes’s

 popular Hale neighborhood or similar, nearby neighborhoods. Rather, this range was

 based largely on properties from distant neighborhoods with far higher percentages of

 Black residents than Hale.

        78.    When HUD asked Mr. Mykhailyna to provide the properties he used to

 define the subject neighborhood, he provided the properties marked on the map below

 with black squares, with the Subject Property marked with a red square. The shading on

 the map shows the percentage of Black residents.




                                            24
Case No. 1:24-cv-02915-GPG-TPO   Document 1   filed 10/21/24   USDC Colorado   pg
                                   25 of 47
Case No. 1:24-cv-02915-GPG-TPO         Document 1       filed 10/21/24   USDC Colorado      pg
                                         26 of 47




        79.    Only one of the properties Mr. Mykhailyna referred to was in the Subject

 Property’s neighborhood of Hale, and six were in neighborhoods with four to five times

 as many Black residents as Ms. Cheroutes’s actual neighborhood. Those six properties

 were also located many miles from the Subject Property.

        80.    Homes in Hale and adjacent neighborhoods generally had higher prices

 than the distant homes in neighborhoods with higher Black populations that Mr.

 Mykhailyna used to define the Subject Property’s neighborhood. By using those distant

 properties to set the range for Ms. Cheroutes’s “subject neighborhood,” Mr. Mykhailyna

 caused the $640,000 appraisal to appear well within the range of comparable

 properties.

    2. Mr. Mykhailyna chose sales comps based on race, selecting less valuable
       properties from distant neighborhoods with larger Black populations
       instead of similar properties from nearby neighborhoods.

        81.    Solidifi’s agreement with Maverick instructed it to choose sales comps

 within one mile of the subject property (i.e., a circular one-mile radius with the focal

 point at the subject property). When Mr. Mykhailyna searched for sales within one mile,

 there were six duplex results, shown in the following table. These results had higher

 average sales prices than the properties he eventually chose as sales comps.

                      Duplex Sales Within One Mile of Subject Property
         Address                              Price
         1001-1003 Adams Street               $1,221,500
         1300 Madison Street                  $700,000
         1451 Garfield Street                 $665,000
         1465 North Monroe Street             $696,250
         1117 Garfield Street                 $660,000
         1476 Dahlia Street                   $698,000 (used as sales comp)
Case No. 1:24-cv-02915-GPG-TPO        Document 1     filed 10/21/24   USDC Colorado         pg
                                        27 of 47




       82.    Without any legitimate, non-discriminatory justification, Mr. Mykhailyna

 decided against selecting his sales comps from that pool of six. Instead, he expanded

 the search radius to 2.5 miles, generating a list of twenty-seven duplexes that had sold

 within the prior year. The following map shows these twenty-seven results,

 distinguishing between the four properties he chose as comps and the twenty-three

 properties he did not choose:




                                            27
Case No. 1:24-cv-02915-GPG-TPO   Document 1   filed 10/21/24   USDC Colorado   pg
                                   28 of 47




                                      28
Case No. 1:24-cv-02915-GPG-TPO         Document 1     filed 10/21/24   USDC Colorado       pg
                                         29 of 47




       83.    Only five of the twenty-seven duplexes were to the east of the Subject

 Property and Colorado Boulevard (the north-south street marked in yellow, running just

 to the west of the Subject Property). Nevertheless, Mr. Mykhailyna chose four of these

 five properties to use as comps and did not use any of the twenty-two duplexes to the

 west of the Subject Property, even though several of them are closer to the Subject

 Property than the comps he did use.

       84.    Mr. Mykhailyna’s later explanation of his east-only approach was suspect.

 He stated that he did so because the major street to the west, Colorado Boulevard, was

 a “hard” neighborhood border, thus suggesting that comps could not be sourced from

 that area. But by restricting the search in this manner, almost all of the comps he

 ultimately chose also crossed neighborhood borders and crossed major streets. Most of

 the comps that Mr. Mykhailyna chose were not even in adjoining neighborhoods, as

 opposed to the closer and adjoining—but mostly White—Congress Park neighborhood

 to the west, from where he chose not to draw comps.

       85.    Mr. Mykhailyna’s refusal to look west of Colorado Boulevard for comps

 was also inconsistent with his approach in an appraisal he had completed just prior for

 the White owners of a fourplex property located 0.7 miles to the east, in the same

 neighborhood as the Subject Property. In that appraisal, Mr. Mykhailyna chose four

 comps to the west of the property, including two on the other side of Colorado

 Boulevard, in Congress Park. He made these choices even though the property being

 appraised was farther from Congress Park than the Subject Property. Furthermore,


                                             29
Case No. 1:24-cv-02915-GPG-TPO        Document 1         filed 10/21/24   USDC Colorado       pg
                                        30 of 47




 when appraising that property owned by a White family, he defined the property’s

 neighborhood to include much of Congress Park.

        86.    Each of the four sales comps Mr. Mykhailyna selected for the Subject

 Appraisal are in census block groups and in neighborhoods with higher concentrations

 of Black residents than that of the Subject Property.

        87.    Multiple properties to the west were more similar to the Subject Property in

 terms of location, size, and/or condition than the properties Mr. Mykhailyna chose as

 comps. Those properties to the west were in areas with lower concentrations of Black

 residents than the areas from which Mr. Mykhailyna chose comps.

        88.    The comps chosen by Mr. Mykhailyna deviated from the Subject Property

 in other obvious ways. Two of them were within a few feet of East Colfax Avenue, a

 street with a well-known reputation for activity considered detrimental to housing value,

 often drawing law enforcement and thus loud sirens and bright lights late at night. This

 reputation and activity had a significant detrimental effect on the value of homes located

 near this part of Colfax Avenue. This reputation was common knowledge to anyone

 familiar with the area and certainly to an appraiser in Denver.

        89.    The selected comps were not even half a block from this part of East

 Colfax Avenue. One of the East Colfax-adjacent comps was across the street from an

 abandoned building and adjacent to a car shop specializing in oil changes. Another

 comp was across the street from a discount used car dealership. These characteristics

 would be expected to depress the values of those comps when compared to the quiet,


                                             30
Case No. 1:24-cv-02915-GPG-TPO          Document 1     filed 10/21/24   USDC Colorado        pg
                                          31 of 47




 tree-lined residential street where the Subject Property was located. But Mr. Mykhailyna

 chose to make only small upwards adjustments ($10,000 and $14,000, or two percent

 of the sales prices) to account for these substantial differences in location and

 attractiveness.

        90.    In contrast, when Mr. Mykhailyna conducted an appraisal for the White

 owners of a fourplex property less than a mile from the Subject Property, Mr.

 Mykhailyna made upwards adjustments of $74,000 and $87,000 (10 percent of the

 sales price for these comps) for comps he chose that were in locations with lower

 property values. Mr. Mykhailyna completed this other appraisal just one month before

 the Subject Appraisal.

        91.    A third comp he chose was located in a distant neighborhood from Hale,

 Washington-Virginia Vale. That property had an assessed land value by the Denver

 Assessor’s Office in 2021 of $24.60 per square foot, far lower than the Subject

 Property’s land, which was valued at $64.96 per square foot. According to Denver’s

 Assessor’s Office in that same year, Ms. Cheroutes’s land was worth $242,400 more

 than the “comp” in Washington-Virginia Vale. But in the Subject Appraisal, Mr.

 Mykhailyna inexplicably adjusted that comp downwards by $16,000 because it had a

 slightly larger lot size than the Subject Property.

        92.    As a fifth comp, Mr. Mykhailyna chose a listing that had not yet sold. This

 listing was even farther northeast than any of the four sales comps and in a

 neighborhood with an even higher percentage of Black residents.


                                              31
Case No. 1:24-cv-02915-GPG-TPO        Document 1     filed 10/21/24      USDC Colorado      pg
                                        32 of 47




       93.    Mr. Mykhailyna’s selection of comps was also inconsistent with prior

 appraisals of the same property carried out by different appraisers subject to the same

 professional standards and rules. Despite Mr. Mykhailyna’s stated rationale that

 neighborhoods to the west were not comparable, prior appraisals of the Subject

 Property relied heavily on sales comps west of the Subject Property, including west of

 Colorado Boulevard. For example, in the May 2020 appraisal, all sales comps were

 west of the Subject Property. In the 2018 appraisal, all but one of the sales comps were

 west of the Subject Property, with three sales comps located in Congress Park.

       94.    In sum, Mr. Mykhailyna’s selection of sales comps further showed that

 race affected his view of the Subject Property’s value. Through his selection of sales

 comps, Mr. Mykhailyna associated the Subject Property with properties in more distant

 neighborhoods rather than ones geographically close to Hale, with properties with

 lesser marketability because of their proximity to East Colfax Avenue, and with areas

 with higher concentrations of Black residents.

    3. Mr. Mykhailyna also lowered the Subject Property’s appraised value by
       making numerous unsupported adjustments and errors that deviated from
       his own past practices.

       95.    In generating the Subject Appraisal, Mr. Mykhailyna made numerous

 adjustments that deviated from appraisal standards and other appraisals of the Subject

 Property and that unjustifiably reduced the Subject Property’s value.

       96.    The map displayed after Paragraph 82 (“Mr. Mykhailyna’s Search

 Results”) displays the pre-adjustment sales prices of the sales comps selected by Mr.


                                            32
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24   USDC Colorado        pg
                                         33 of 47




 Mykhailyna. Mr. Mykhailyna adjusted the two highest-value comps downwards because

 they had larger lot sizes than the Subject Property. But he used an inexplicably large

 multiplier of $40 per square foot to apply the adjustment, which resulted in a 13 percent

 downwards adjustment from the sale price of two of the comps. In dollar terms, this

 adjustment amounted to a decrease in value of $96,800 and $93,600 for these two

 comps, which significantly depressed their value as comparable properties.

        97.     These large lot size adjustments were not only unjustified but also

 inconsistent with Mr. Mykhailyna’s prior practices. In the sixteen appraisals of two- to

 four-unit properties that Mr. Mykhailyna had completed in Denver between 2020 and

 2022, he had never used anywhere near such a large multiplier. In fact, in twelve of

 those appraisals, his lot size adjustments applied a multiplier no greater than $5 per

 square foot.

        98.     These large lot-size adjustments were also inconsistent with prior

 appraisals by others of the Subject Property. The 2020 appraisal applied no lot-size

 adjustments. The 2018 appraisal applied a $1 per square foot adjustment. And the 2015

 appraisal also applied no lot-size adjustments, despite two of the comparable properties

 having 50 percent larger lots than the Subject Property.

        99.     Mr. Mykhailyna’s lot-size adjustments also exceeded Solidifi’s standards,

 which require an explanation for specific adjustments of more than 10 percent. But Mr.

 Mykhailyna did not supply any reasoned justification for these adjustments. All he wrote

 in the addendum of the Subject Appraisal was that he had conducted a “matched pair


                                             33
Case No. 1:24-cv-02915-GPG-TPO        Document 1      filed 10/21/24   USDC Colorado        pg
                                        34 of 47




 analysis of comparable lot sizes in the subject’s market area”; he did not elaborate

 further.

        100.   If Mr. Mykhailyna had instead used a multiplier of $5 per square foot, the

 decrease in dollar value based on lot size for the comps discussed in Paragraph 95

 would have been $12,100 and $11,700—a less than 2 percent downwards adjustment

 from the comps’ sales prices.

        101.   Mr. Mykhailyna also did not accurately report a major component of

 property valuations: the number of bedrooms. In his appraisal report, he excluded the

 third bedroom in the basement of each unit of the Subject Property. In contrast, for three

 of the sales comps he selected, he included basement bedrooms. This difference

 should have resulted in upwards adjustments had Ms. Cheroutes’s basement bedrooms

 been counted.

        102.   Mr. Mykhailyna’s unjustified exclusion of the basement bedrooms

 significantly lowered the value he assigned to the Subject Property. In the appraisal

 report, he wrote that the value per bedroom of the comps was $160,000. By that metric,

 if he had included the two basement bedrooms, the value of the Subject Property would

 have been $320,000 higher.

        103.   Another comp that Mr. Mykhailyna chose (one of those located near East

 Colfax Avenue) required such large upwards adjustments that they exceeded Solidifi’s

 standards in multiple ways, as explained below. This level of adjustment suggests that




                                            34
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24    USDC Colorado        pg
                                         35 of 47




 the property was not actually comparable because the Subject Property was superior in

 so many respects.

        104.   In the Subject Appraisal, Mr. Mykhailyna also incorrectly listed the Subject

 Property’s neighborhood elementary school as Palmer Elementary School, which is

 northeast of the Subject Property. The Subject Property’s actual neighborhood

 elementary school is Steck Elementary School, which is south of the Subject Property

 and much closer than Palmer. Palmer has a much higher concentration of Black

 students (19 percent) than Steck (only 4 percent). On the other hand, when appraising a

 nearby property owned by White homeowners, he correctly identified the closest

 neighborhood school.

        105.   Mr. Mykhailyna made a number of other errors, such as using gross living

 area as opposed to gross building area; under-counting the Subject Property’s gross

 living area; failing to mention improvements that had been made to the property;

 incorrectly stating that the property lacked a fence, attic, and energy-efficient

 appliances; and incorrectly rating the condition of one of the comps. These errors

 demonstrate a lack of attention to detail that mirrored Mr. Mykhailyna’s cursory

 inspection of the Subject Property and his dismissive attitude towards Ms. Cheroutes.

        106.   Mr. Mykhailyna’s improper adjustments and errors were inconsistent with

 the USPAP, which requires appraisers to “be aware of, understand, and correctly

 employ those recognized methods and techniques that are necessary to produce a




                                              35
Case No. 1:24-cv-02915-GPG-TPO          Document 1      filed 10/21/24   USDC Colorado       pg
                                          36 of 47




 credible appraisal” and “not commit a substantial error of omission or commission that

 significantly affects an appraisal.” USPAP Standards Rule 1-1 (2020-2021).

 I.     Solidifi reviewed the Subject Appraisal.

        107.    On January 21, 2021, Mr. Mykhailyna and Maverick submitted the Subject

 Appraisal to Solidifi.

        108.    In multiple ways, the Subject Appraisal did not comply with Solidifi’s

 standards and requirements for appraisers. For example, whenever an appraiser’s net

 adjustments to a comp exceeded 15 percent, or gross adjustments exceeded 25

 percent, Solidifi required a clear and detailed explanation. The adjustments Mr.

 Mykhailyna made for one of the comps exceeded both of these standards, with net and

 gross adjustments totaling 28.4 percent. However, he did not provide a clear and

 detailed explanation for these adjustments.

        109.    For income producing properties such as the Subject Property, Solidifi

 also required a clear and detailed explanation for the use of any comps with a gross

 building area that deviated more than 20 percent from the property being appraised.

 Although three of the comps had gross building areas that deviated more than 20

 percent, Mr. Mykhailyna provided no explanation.

        110.    More generally, Solidifi requires appraisals to comply with the USPAP. As

 explained above, the Subject Appraisal did not.

        111.    After Mr. Mykhailyna submitted the Subject Appraisal to Solidifi, Solidifi

 conducted a review. Although the Subject Appraisal did not comply with Solidifi’s


                                              36
Case No. 1:24-cv-02915-GPG-TPO        Document 1     filed 10/21/24   USDC Colorado       pg
                                        37 of 47




 standards and requirements for its appraisers, Solidifi did not request any changes or

 take any corrective action based on its review.

       112.   Later on January 21, 2021, Solidifi submitted the Subject Appraisal to

 Rocket.

 J.    After Ms. Cheroutes reported to Rocket that the Subject Appraisal was
       discriminatory, Rocket adhered to the Subject Appraisal and canceled her
       refinancing application.

       113.   After Solidifi transmitted the Subject Appraisal to Rocket, Ms. Cheroutes

 was able to view the appraisal. She was surprised that the valuation was so low.

       114.   Ms. Cheroutes repeatedly attempted to contact Rocket with her concerns

 about the low value of the appraisal, and her belief that Mr. Mykhailyna had

 undervalued the Subject Property because of her race. Prior to the appraisal, her

 primary loan officer at Rocket was Brandon Swales, and he had been very enthusiastic

 about Ms. Cheroutes’s application, telling Ms. Cheroutes that a multi-unit home in

 Denver was a good buy in the current market.

       115.   After the appraisal, Ms. Cheroutes contacted Mr. Swales and explained

 that she believed the Subject Appraisal was discriminatory and mentioned that she

 wanted another appraisal. Ms. Cheroutes explained that during the site inspection she

 had a Black Lives Matter sign in the yard and that she regretted being in the house

 because Mr. Mykhailyna was able to see that it was owned by a Black person. Mr.

 Swales agreed that a 25 percent decrease in value from a prior appraisal completed

 less than a year ago did not make sense, and he explained that Rocket would review


                                            37
Case No. 1:24-cv-02915-GPG-TPO         Document 1       filed 10/21/24   USDC Colorado        pg
                                         38 of 47




 the appraisal. Mr. Swales referred Ms. Cheroutes to Matthew Watson, a Solution

 Consultant for Rocket.

        116.   Ms. Cheroutes also spoke with Rocket representative Nikki Cogburn via

 an online chat, stating that there were issues of discrimination in the loan process. Ms.

 Cogburn also referred her to Mr. Watson.

        117.   Ms. Cheroutes spoke to Mr. Watson on January 25, 2021. She told him

 about errors in the appraisal and informed him that she believed the low appraisal was

 due to racial discrimination. She explained that Mr. Mykhailyna had been hostile and

 unfriendly to her and did not listen to the facts about the house that Ms. Cheroutes tried

 to relay to him.

        118.   Mr. Watson did not take any action to investigate her report of

 discrimination or dispute it. Rather, he told Ms. Cheroutes that because she had raised

 the issue of discrimination, he could not talk to her or help her.

        119.   Mr. Watson also told Ms. Cheroutes that if she did not agree to proceed

 with a loan based on the $640,000 appraisal, he would cancel the loan.

        120.   Proceeding with the loan based on the discriminatory appraisal would

 have been adverse to Ms. Cheroutes. The terms in Rocket’s previous written loan

 estimate, before the Subject Appraisal, had been based on the estimated value of

 $860,000. Any loan based on the $640,000 appraisal would necessarily have included

 less favorable terms for Ms. Cheroutes. Indeed, following the appraisal, Rocket

 generated a revised written loan estimate with less favorable terms.


                                              38
Case No. 1:24-cv-02915-GPG-TPO           Document 1   filed 10/21/24   USDC Colorado       pg
                                           39 of 47




        121.   Ms. Cheroutes told Mr. Watson that if Rocket canceled her refinance

 application because she was reporting discrimination, Rocket would be involving itself in

 the discrimination by ignoring her complaint. She stated that she wanted another

 appraisal conducted of the Subject Property. Mr. Watson referred Ms. Cheroutes to

 another department at Rocket, Client Relations.

        122.   Rocket canceled the refinance application before Ms. Cheroutes could

 even speak to Client Relations. Indeed, on January 25, 2021, the same day he spoke to

 Ms. Cheroutes, Mr. Watson wrote an internal note in Rocket’s system that he “[n]otified

 client this loan has been cancelled.”

        123.   On January 26, 2021, Rocket generated a letter from Mr. Swales to Ms.

 Cheroutes stating, “we are unable to offer you financing at this time” due to the “Low

 appraised value” of the property. Emails between Rocket employees in the subsequent

 days stated that the appraisal “caused the loan to no [sic] make sense” and that the

 loan was “killed” due to “a low appraised value.”

        124.   Ms. Cheroutes spoke with Abril CanoBaca from Rocket’s Client Relations

 department on January 28, 2021. Ms. Cheroutes informed Ms. CanoBaca that she

 believed that the Subject Appraisal was discriminatory. Ms. CanoBaca said that there

 was nothing she could do regarding the discrimination beyond making yet another

 referral, this time to Rocket’s legal team.

        125.   Ms. CanoBaca also stated that Ms. Cheroutes could provide her own

 sales comps for the appraisal, with any suggested sales comps to be evaluated by Mr.


                                               39
Case No. 1:24-cv-02915-GPG-TPO        Document 1       filed 10/21/24   USDC Colorado      pg
                                        40 of 47




 Mykhailyna. But Ms. CanoBaca also told Ms. Cheroutes that Rocket’s underwriting team

 only cared if the gross adjustments in an appraisal exceeded 25 percent and that the

 gross adjustments in the Subject Appraisal fell below that threshold. This latter

 representation was inaccurate because the gross adjustments for one of the comps in

 the Subject Appraisal did exceed that threshold.

        126.   Ms. CanoBaca also represented to Ms. Cheroutes that Rocket sends

 discrimination complaints to the legal team and that Rocket did investigate complaints of

 discrimination.

        127.   Ms. Cheroutes’s final conversation with Rocket was on February 1, 2021,

 with Randall Griebel, who was also from the Client Relations department. Mr. Griebel

 did not address Ms. Cheroutes’s concerns about discrimination but repeated that the

 only way to challenge the appraisal was for Ms. Cheroutes to submit her own sales

 comps, thus placing the burden on her to remedy her own allegation of discrimination.

 He also stated that Ms. Cheroutes’s discrimination complaint had been sent to Rocket’s

 legal team but informed her that the legal team might not contact her regarding the

 complaint. Mr. Griebel said that he did not have any knowledge about the actions of the

 legal team.

        128.   Rocket’s legal team did not contact Ms. Cheroutes, Solidifi, or Mr.

 Mykhailyna regarding the discrimination allegation.

        129.   Rocket was aware of Ms. Cheroutes’s race. Ms. Cheroutes mentioned her

 race in conversations with Mr. Swales and Ms. CanoBaca, and she made it clear to Mr.


                                             40
Case No. 1:24-cv-02915-GPG-TPO          Document 1      filed 10/21/24    USDC Colorado         pg
                                          41 of 47




 Swales, Mr. Watson, and Ms. CanoBaca that she believed she had been subjected to

 discrimination on the basis of her race.

        130.   Rocket knew, based on the appraisal report and the information provided

 by Ms. Cheroutes, of facts showing that the Subject Appraisal had undervalued the

 Subject Property based on her race. Despite knowing these facts, Rocket relied on the

 discriminatory appraisal in its decision to deny Ms. Cheroutes’s loan application.

        131.   To avoid relying on the discriminatory appraisal, Rocket could have

 ordered an appraisal of the Subject Property from a different appraiser. See 12 C.F.R.

 § 1026.42(c)(3)(iv). Rocket could also have attempted to remedy the discrimination

 through a variety of other means, including by requesting that Mr. Mykhailyna consider

 more appropriate comps and fix other errors in the Subject Appraisal. See 15 U.S.C.

 § 1639e(c); 12 C.F.R. §§ 1026.42(c)(3)(i), (iii), (vi). In fact, Rocket did request that Mr.

 Mykhailyna correct an error in the Subject Appraisal unrelated to Ms. Cheroutes’s

 complaint, and Mr. Mykhailyna corrected that error.

 K.     Harm Ms. Cheroutes suffered from Defendants’ discrimination.

        132.   Ms. Cheroutes experienced financial and emotional harm due to

 Defendants’ discrimination.

        133.   Because Rocket canceled her refinance application, she was unable to

 obtain a refinance mortgage loan that would have had a lower interest rate, a shorter

 term, and lower monthly payments.




                                               41
Case No. 1:24-cv-02915-GPG-TPO         Document 1     filed 10/21/24     USDC Colorado        pg
                                         42 of 47




        134.   Ms. Cheroutes did not try to refinance her mortgage through a different

 company because she was afraid that she would continue to be discriminated against

 during the appraisal process. Instead, she applied for a variable-rate home equity line of

 credit (“HELOC”), which was less favorable financially than the refinance with Rocket,

 but which only required a drive-by appraisal.

        135.   Ms. Cheroutes experienced emotional distress and humiliation due to

 Defendants’ apparent belief that her house was worth less because it was owned by a

 Black person. She also feared that her son, who was in the process of seeking to buy a

 home, would likewise experience racial discrimination. She also suffered emotional

 distress and humiliation as a result of the decision by Rocket to retaliate against her by

 responding to her complaint of discrimination by cancelling the loan.

                           HUD ADMINISTRATIVE PROCESS

        136.   On April 27, 2021, Ms. Cheroutes timely filed a complaint with the

 Colorado Civil Rights Division (“CCRD”) alleging that Rocket, Maverick, and Mr.

 Mykhailyna engaged in one or more discriminatory housing practices.

        137.   On June 8, 2021, the complaint was transferred to HUD with the consent

 of CCRD.

        138.   The complaint was amended on June 16, 2021, and again on October 12,

 2021, to add Solidifi as a respondent.

        139.   Pursuant to 42 U.S.C. § 3610(a) and (b), the Secretary of HUD conducted

 and completed an investigation of the HUD complaint and prepared a final investigative


                                             42
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24    USDC Colorado   pg
                                         43 of 47




 report. Based on the information gathered during the investigation, the Secretary

 determined, pursuant to 42 U.S.C. § 3610(g)(1), that reasonable cause existed to

 believe that Defendants had violated the Fair Housing Act.

        140.   On July 15, 2024, the Secretary issued a Charge of Discrimination

 pursuant to 42 U.S.C. § 3610(g)(2)(A).

        141.   On July 22, 2024, Ms. Cheroutes elected to have the claims asserted in

 HUD’s Charge of Discrimination resolved in a civil action pursuant to 42 U.S.C.

 § 3612(a).

        142.   On July 23, 2024, a HUD Administrative Law Judge issued a Notice of

 Election to Proceed in United States Federal District Court and terminated the

 administrative proceedings. Following the Notice of Election, the Secretary of HUD

 authorized the Attorney General to commence a civil action pursuant to 42 U.S.C. §

 3612(o).

        143.   The United States and Defendants executed tolling agreements extending

 the expiration of any statute of limitations in this action from August 21, 2024, to

 October 21, 2024.

              CAUSE OF ACTION: VIOLATION OF THE FAIR HOUSING ACT

        144.   The United States re-alleges and incorporates by reference the allegations

 set forth above.

        145.   By the conduct described above, Defendants engaged in one or more

 “[d]iscriminatory housing practice[s]” as defined by 42 U.S.C. § 3602(f).


                                              43
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24    USDC Colorado       pg
                                         44 of 47




        146.   Specifically, Defendants discriminated in making available a residential

 real estate-related transaction, or in the terms or conditions of such a transaction,

 because of race or color, in violation of 42 U.S.C. § 3605.

        147.   The discriminatory housing practices of Defendant Mykhailyna were taken

 while he was acting as agent of Defendant Maverick, were within the scope of that

 agency, and were taken with Maverick’s actual or apparent authority.

        148.   The discriminatory housing practices of Defendants Mykhailyna and

 Maverick were taken while they were acting as agents of Solidifi, were within the scope

 of that agency, and were taken with Solidifi’s actual or apparent authority.

        149.   The appraisal of Ms. Cheroutes’s property by Defendants Mykhailyna,

 Maverick, and Solidifi was completed for and at the request of Defendant Rocket.

 Defendant Rocket was reliably informed that the appraisal undervalued Ms. Cheroutes’s

 property because of race or color. Defendant Rocket had the authority to correct the

 discriminatory appraisal, or cause it to be corrected, but failed to do so.

        150.   Further, Defendant Rocket coerced, intimidated, threatened, or interfered

 with Ms. Cheroutes in the exercise or enjoyment of, or on account of her having

 exercised or enjoyed, rights granted or protected by 42 U.S.C. § 3605, in violation of 42

 U.S.C. § 3617.

        151.   Ms. Cheroutes is an “[a]ggrieved person,” as defined in 42 U.S.C.

 § 3602(i), and has suffered damages as a result of Defendants’ discriminatory conduct.




                                              44
Case No. 1:24-cv-02915-GPG-TPO              Document 1      filed 10/21/24    USDC Colorado          pg
                                              45 of 47




       152.          Defendants’ discriminatory conduct was intentional, willful, and taken in

 reckless disregard of the rights of Ms. Cheroutes.

                                        PRAYER FOR RELIEF

       WHEREFORE, the United States prays for relief as follows:

       a. Declare that Defendants Rocket Mortgage, LLC; Solidifi U.S. Inc.; Maksym

           Mykhailyna; and Maverick Appraisal Group Inc. violated the Fair Housing Act,

           42 U.S.C. §§ 3601–3619;

       b. Enjoin Defendants, including their agents, employees, and successors, and

           all other persons in active concert or participation with Defendants, from:

               i.        Engaging in discrimination on the basis of race or color in making

                         available real estate-related transactions, or in the terms or conditions

                         of such transactions;

              ii.        Failing or refusing to take such affirmative steps as may be necessary

                         to restore, as nearly as practicable, Ms. Cheroutes to the position she

                         would have been in but for the discriminatory conduct; and

              iii.       Failing or refusing to take such affirmative steps as may be necessary

                         to prevent the recurrence of any discriminatory conduct in the future;

       c. Enjoin Defendant Rocket, including its agents, employees, and successors,

           and all other persons in active concert or participation with Defendant Rocket,

           from coercing, intimidating, threatening, or interfering with persons in the




                                                   45
Case No. 1:24-cv-02915-GPG-TPO         Document 1      filed 10/21/24    USDC Colorado          pg
                                         46 of 47




           exercise or enjoyment of, or on account of their having exercised or enjoyed,

           their rights granted or protected by 42 U.S.C. § 3605;

        d. Award monetary damages to Ms. Cheroutes pursuant to 42 U.S.C.

           §§ 3612(o)(3) and 3613(c)(1); and

        e. Award any other legal and equitable relief that the Court finds to be just and

           proper.



                                      JURY DEMAND

        Plaintiff hereby demands a trial by jury of all issues so triable pursuant to Fed. R.

 Civ. P. 38.




                                              46
Case No. 1:24-cv-02915-GPG-TPO         Document 1   filed 10/21/24   USDC Colorado   pg
                                         47 of 47




 Dated October 21, 2024.


                                             MERRICK B. GARLAND
                                             Attorney General

  MATTHEW T. KIRSCH                          KRISTEN CLARKE
  Acting United States Attorney              Assistant Attorney General
                                             Civil Rights Division

  s/ Zeyen J. Wu                             s/ Nathan Shulock
  Alicia Alvero Koski                        CARRIE PAGNUCCO
  Zeyen J. Wu                                Chief
  Assistant United States Attorneys          TIMOTHY J. MORAN
  United States Attorney’s Office            Deputy Chief
  1801 California Street, Suite 1600         Nathan Shulock
  Denver, CO 80202                           Trial Attorney
  Telephone: (303) 454-0100                  Housing and Civil Enforcement Section
  Email: zeyen.wu@usdoj.gov                  Civil Rights Division
                                             U.S. Department of Justice
                                             150 M Street, NE
                                             Washington, DC 20530
                                             Telephone: (202) 598-3254
                                             Email: nathan.shulock@usdoj.gov

                                             Attorneys for Plaintiff
                                             United States of America




                                            47
